                 Case 14-01927-RBR        Doc 1       Filed 12/24/14   Page 1 of 98



                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION
                                  www.flsb.uscourts.gov

In re:                                                  Case No. 13-37090-RBR

JOSEPH GOPIN and
ROCHEL RODMAN,                                          Chapter 7

      Debtors.
_______________________________/

KENNETH A. WELT, Chapter 7 Trustee,                     Adv. Pro. No.________________

         Plaintiff,

v.

YGSL HOLDINGS, LLC, a dissolved Florida limited
liability company, CSSY OF FLORIDA, INC.,
a Florida Non-Profit Corporation, CYM
HOLDINGS, LLC, a Florida limited liability
company, M&M CHOW, LLC, a Florida limited
liability company, 1019 LINCOLN LLC, a dissolved
Florida limited liability company, 8100 BAIS CHAYA,
INC., a Florida non-profit corporation, MORDECHEI
KORF, an individual MENACHAM KORF, an individual,
ERICA KORF, an individual, ZALMAN KORF,
an individual, SHMUEL LEVY, an individual,
and CHAIM MENDELSOHN, an individual,

      Defendants.
_______________________________/

 COMPLAINT TO DETERMINE ESTATE’S INTEREST, TO AVOID AND RECOVER
          FRAUDULENT TRANSFERS AND FOR OTHER RELIEF

         Plaintiff, Kenneth A. Welt, the duly appointed chapter 7 trustee (“Plaintiff” or “Trustee”),

by and through undersigned counsel, sues YGSL Holdings, LLC, CSSY of Florida, Inc., CYM

Holdings, LLC, M&M Chow, LLC, 1019 Lincoln, LLC, 8100 Bais Chaya, Inc., Mordechei Korf,

Menacham Korf,, Erica Korf, Zalman Korf, Shmuel Levy, and Chaim Mendelsohn, pursuant to



                                                  1
               Case 14-01927-RBR          Doc 1         Filed 12/24/14   Page 2 of 98



11 U.S.C. §§ 544, 548, 550, Fla. Stat. 726 et seq., and Bankruptcy Rule of Procedure 7001 and

alleges:

                                 JURISDICTION AND VENUE

        1.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334(b).

        2.     This is a core proceeding which the Court is authorized to hear, determine and

enter final orders in accordance with 28 U.S.C. §157(b)(1), (b)(2)(A), (H) and (O). Further, the

Trustee consents to the entry of final orders and judgment by the Bankruptcy Court in

accordance with Fed.R.Bankr. P. 7008(a).

        3.     Venue is proper in this district pursuant to 28 U.S.C. § 1409 as the main

bankruptcy case of Joseph Gopin (“Gopin”) and Rochel Rodman (“Rodman”) (collectively, the

“Debtors”) is pending in this district.

                                            PARTIES

        4.     Plaintiff is over the age of eighteen (18) years, and the duly appointed chapter 7

trustee for the bankruptcy estate of the Debtors.

                                    The Kosher Central Entities

        5.     YGSL Holdings, LLC (“YGSL”), is a dissolved Florida limited liability company,

with its principal address located at 5650 Stirling Road, #20, Hollywood, Florida, 33021.

According to the records of the Division of Corporations for Florida Department of State, YGSL

is currently the owner of a fictitious company operating under the name “Kosher Central.”

        6.     CSSY of Florida, Inc. (“CSSY”), is a dissolved Florida a non-profit corporation,

with its principal address located at 821 N. Federal Highway, Hallandale, Florida 33009. CSSY

served as a managing member of YGSL before being replaced by Gopin on or about January 6,

2010.

                                                    2
               Case 14-01927-RBR       Doc 1       Filed 12/24/14   Page 3 of 98



       7.      CYM Holdings, LLC (“CYM”), is a dissolved Florida limited liability company,

with its principal address located at 5650 Stirling Road, Hollywood, FL 33021. According to the

records of the Division of Corporations for Florida Department of State, CYM is currently the

owner of a fictitious company operating under the name “Kosher Central Market & Catering.”

       8.      M&M Chow, LLC (“M&M”), is a Florida limited liability company, with its

principal address located at 1257 Alton Road, Suite 2, Miami Beach, FL 33139. According to

the records of the Division of Corporations for Florida Department of State, M&M is currently

the owner of a fictitious company operating under the name “Kosher Central.”

                                         1019 Lincoln

       9.      1019 Lincoln, LLC (“1019 Lincoln”), is a dissolved Florida limited liability

company.

       10.     Zalman Korf (“Zalman”), is an individual, sui juris, and is the manager of 1019

Lincoln. Upon information and belief, Zalman is a resident of Broward County.

                                Insiders - The Korf Family
                       (Kosher Central, Homestead and 1019 Lincoln)

       11.     Mordechei Korf (“Mordechei”), is an individual, sui juris, and serves as the

managing member of M&M. Upon information and belief, Mordechei is a resident of Miami-

Dade County.

       12.     Erica Korf (“Erica”), is an individual, sui juris, and is currently a manager of

M&M. Upon information and belief, Erica is a resident of Miami-Dade County.

       13.     Menacham Korf (“Menacham”), is an individual, sui juris, and was the prior

manager of M&M. Upon information and belief, Menacham is a resident of Miami-Dade

County.




                                               3
              Case 14-01927-RBR         Doc 1       Filed 12/24/14   Page 4 of 98



                                 Other Insiders – Kosher Central

       14.     Shmuel Levy (“Levy”), is an individual, sui juris, and served as a managing

member of YGSL. Levy is the brother-in-law of Gopin, and was allegedly a fifty percent (50%)

owner of YGSL before selling his interest to Gopin. Upon information and belief, Levy is a

resident of New York.

       15.     Chaim Mendelsohn (“Mendelsohn”) is an individual, sui juris, and was the

managing member of CYM. Upon information and belief, Mendelsohn is a resident of Broward

County.

                      SUMMARY OF FACTS AND RELIEF SOUGHT

       16.     After the Harlem Suites Judgment (defined hereinafter) was entered in July 2010,

Gopin devised a plan wherein he would transfer legal ownership of his assets to other entities or

individuals, many of whom were affiliated with Gopin through their mutual involvement in the

Chabad of Walnut Creek, a synagogue and Jewish community center, including but not limited

to brothers Mordechai Korf and Zalaman Korf (the “Walnut Creek Insiders”).

       17.     The transfers relevant to this Complaint include: (a) an ownership interest in

Kosher Central, a kosher supermarket, full service caterer, butcher and bakery located in

Broward County, Florida; (b) real property located at 1895 NW 76th Way, Hollywood, Florida

(“the Homestead”); and (c) real property located at 1019 Lincoln Place, Brooklyn, New York

(the “1019 Lincoln Property”).

       18.     Upon information and belief, the Walnut Creek Insiders have agreed to and have

participated in defrauding Gopin’s creditors – the transactions detailed herein were designed to

create the appearance of arms’-length transactions, but were fabricated transactions between

Gopin and the Defendants that enabled Gopin to maintain control of his significant assets while

evading claims of creditors.

                                                4
                Case 14-01927-RBR         Doc 1       Filed 12/24/14   Page 5 of 98



       19.      The Trustee is seeking a determination that the Debtor is the true owner of Kosher

Central. In the alternative, the Trustee is seeking to avoid and recover the Debtor’s transfer of

Kosher Central to M&M with the actual intent to hinder, delay or defraud his creditors, and for

less than reasonably equivalent value.

       20.      In addition, the Trustee is seeking to avoid and recover the Debtor’s transfer of

real property located at 1019 Lincoln Place, Brooklyn, New York.

                            FACTS COMMON TO ALL COUNTS

                                         Bankruptcy Cases

       21.      On November 11, 2013 (the “Petition Date”), the Debtors filed a voluntary

petition under Chapter 7 of the Bankruptcy Code commencing case no: 13-37090-RBR (the

“Main Case”).

       22.      On the Petition Date, the Debtors filed their schedules and statement of financial

affairs (the “Schedules”). See Main Case, ECF No. 1.

       23.      The Schedules reflects debt owed by the Debtors to, among others, Harlem Suites,

Nickey Gregory, Bank of America, NA, US Bank, NA and the Debtors’ chapter 11 bankruptcy

counsel. See Main Case, ECF No. 1, schedules D and F.

       24.      On March 20, 2014 and April 7, 2014, the Trustee conducted a Rule 2004

examination of the Debtors (the “2004 Examination”). See Main Case, ECF Nos. 50 and 57.

       25.      On May 7, 2014, Harlem Suites filed its Verified Complaint of Harlem Suites,

LLC, Objecting to Dischargeability of Debt Pursuant to 11 U.S.C. §523(a)(2)(B) against Gopin

(the “Harlem Suites Complaint”). See Main Case, ECF No. 66.

       26.      On May 9, 2014, creditor, Nickey Gregory filed Creditor Nickey Gregory

Company of Miami, LLC’s Adversary Complaint to Except Discharge of PACA Trust Debt

against Gopin (the “Nickey Gregory Complaint”). See Main Case, ECF No. 67.

                                                  5
                 Case 14-01927-RBR              Doc 1        Filed 12/24/14      Page 6 of 98



                                  BUSINESS DEALINGS AND DEBT

                        231 Norman Avenue - Harlem Suites, LLC Investment

        27.      Upon information and belief, prior to moving to Florida, in or about 2005, Gopin

was involved in real estate development, including, but not limited to real property located at 231

Norman Avenue, in Brooklyn, New York (“Norman Avenue”).

        28.      In or around March 2005, 231 Norman Avenue Property Development, LLC

entered into an operating agreement with Gopin and others to finance and develop Norman

Avenue pursuant to that certain Construction Agreement dated March 4, 2005 (the “Construction

Agreement”). A copy of the Construction Agreement is attached as Exhibit 1.

        29.      The Construction Agreement contained the personal guaranty of Gopin, along

with several others, in connection with a loan 1 from Harlem Suites, LLC (“Harlem Suites”)

provided to 231 Norman Avenue Property Development. See Construction Agreement, p. 3.

        30.      Gopin and the guarantors failed to make payments, and on July 13, 2010 Harlem

Suites was awarded a final judgment against Gopin and the other guarantors in the amount of

$1,525,759.00 (the “Harlem Suites Judgment”). A copy of the Harlem Suites Judgment is

attached as Exhibit 2.

        31.      The Harlem Suites Judgment was domesticated in the State of Florida and then

recorded in the public records of Broward County, Florida, on March 16, 2011.

        32.      Upon information and belief, once the Harlem Suites Judgment was entered,

Gopin began strategizing to shield his assets from creditors and started transferring real property

and business interests to insiders.

        33.      According to Proof of Claim No. 1 filed in the Debtors’ main bankruptcy case,

Harlem Suites is owed $2,235,550.45.

1
 The funds were initially provided as a capital contribution, which, upon information and belief, Harlem Suites
exercised an option to convert the capital contribution(s) to a loan.
                                                         6
               Case 14-01927-RBR        Doc 1       Filed 12/24/14   Page 7 of 98



                               Hallandale Farmers Market, LLC

       34.     Shortly after Gopin signed the Construction Agreement where he guaranteed the

loan with Harlem Suites, and shortly after moving to the State of Florida, in or about 2006,

Gopin started another business operating as the “Hallandale Farmer’s Market.”

       35.     The legal entity for Hallandale Farmer’s Market was Hallandale Farmers Market,

LLC (“Hallandale Market”), located at 821 N. Federal Highway, Hallandale, Florida, 33009.

       36.     Upon information and belief, at all times during its existence, Gopin controlled

owned and operated the Hallandale Market.

       37.     As the owner and operator, Gopin continued to accrue numerous debts, including

but not limited to debts owed to creditors, Sun Commodities Inc. and Nicky Gregory, both of

whom have filed adversary complaints against the Debtor.

       38.     Upon information and belief, Gopin ceased operations of Hallandale Market in or

around 2011.

       39.     On June 17, 2011, the County Court of the Seventeenth Judicial Circuit in and for

Broward County, Florida, entered a Final Judgment for Removal of Tenant against the

Hallandale Market, evicting Gopin from the premises located at 821 N. Federal Highway,

Hallandale, Florida 33009.

       40.     Further, on or around March 14, 2012, Nicky Gregory (“Gregory”) obtained a

final judgment (the “Gregory Judgment”) against Gopin and Hallandale Market in the amount of

$85,424.35.

       41.     In an effort to forestall post-judgment discovery, Gopin negotiated settlement of

the Gregory Judgment whereby he agreed to pay an aggregate of $100,000.00 to be made in

installment payments. A copy of the referenced settlement is attached as Exhibit 3.



                                                7
               Case 14-01927-RBR           Doc 1       Filed 12/24/14   Page 8 of 98



        42.     Predictably, Gopin defaulted on the settlement agreement, and in December 2012

Gregory obtained another judgment against Gopin in the amount of $100,000.00.

        43.     Upon information and belief, as of the Petition Date, Gopin did not make any

attempt to satisfy the Gregory judgment.

                                 Debtor’s Interest in Kosher Central

        44.     Upon information and belief, after Hallandale Market ceased operations, Gopin

transferred the assets and inventory of Hallandale Market to a new business venture, YGSL

Holdings, LLC, a Florida limited liability company doing business as Kosher Central

Market/Carmel Bakery (“Kosher Central”), a supermarket, deli, bakery and catering company,

located at 5650 Stirling Road, Hollywood, Florida 33021.

        45.     Upon information and belief, Gopin is the founder and owner of Kosher Central.

Kosher Central maintains a website located at www.koshercentral.com, where Gopin holds himself out as

the founder and CEO of Kosher Central. An excerpt of the first two pages of Kosher Center’s catering

menu is attached as Exhibit 4.

        46.     At some point, Defendant Shmuel Levy became a 50% owner of Kosher Central.

        47.     On or about August 13, 2010, Levy and Gopin entered into an agreement pursuant

to which Gopin would: (a) purchase Levy’s fifty percent (50%) ownership interest in Kosher

Central to Gopin for $110,000.00, and (b) assume $50,000 of debt (the “YGSL Agreement”).

        48.     As a result of the YGSL Agreement, Gopin became the 100% owner of Kosher

Central.

        49.     In 2011, Levy filed an action against asserting that Gopin repudiated the YGSL

Agreement and failed to make payments required under the agreement. Levy sought a temporary

injunction and/or the appointment of a receiver. See Request for Temporary Injunction and/or

Appointment of Receiver attached as Exhibit 5.


                                                   8
               Case 14-01927-RBR        Doc 1       Filed 12/24/14   Page 9 of 98



       50.     Under penalty of perjury, Levy asserted that after Gopin agreed to purchase

Levy’s interest, Gopin “solicited investors to purchase [Kosher Central], resulting in [Gopin]

receiving over three hundred thousand dollars ($300,000.00) for [Gopin’s] sale of an interest in

[Kosher Central].”

       51.     According to Levy’s allegations, “[Gopin] has made multiple fraudulent transfers

of the funds (in excess of two hundred and fifty thousand dollars ($250,000.00) invested by the

investors in an attempt to make [Kosher Central] insolvent and defraud [Levy] of [his] interest in

[Kosher Central].”

       52.     For reasons unknown, the case was dismissed when the parties failed to appear at

a mandatory case management conference on September 19, 2012.

       53.     Upon information and belief, Gopin has, at all times, retained his ownership

interest in Kosher Central.

       54.     A review of Gopin’s bank statements reflects that he receives significant

compensation from Kosher Central in amounts that are not consistent or paid on a regular basis.

       55.     While Gopin testified at his 2004 examination testified that he is a 1099 employee

of Kosher Central, records received from Kosher Central’s payroll company do not indicate that

Gopin was ever an “employee” or that he was paid in the same fashion as other recipients of

1099 income from Kosher Central.

       56.     Gopin also testified at his 2004 examination that Kosher Central uses and pays for

a Mitsubishi truck that he owns, which is not typical of a 1099 employee.

                        Transfer of Kosher Central to M&M Chow, LLC

       57.     Subsequent to becoming a judgment debtor of Harlem Suites, on or around March

11, 2011, Gopin transferred his interest in Kosher Central to M&M via a collateral assignment of

lease (the “Assignment of Lease”). A copy of the Assignment of Lease is attached as Exhibit 6.

                                                9
                Case 14-01927-RBR            Doc 1      Filed 12/24/14        Page 10 of 98



        58.      The Assignment of Lease was signed by Chaim Mendelsohn and allegedly

executed to secure promissory notes for monies allegedly loaned by M&M to Kosher Central. 2

        59.      Although the Assignment of Lease creates the appearance that M&M loaned

money to Kosher Central, Gopin has failed to provide the Plaintiff with any evidence that M&M

provided any funds to Kosher Central.

        60.      In 2012, M&M initiated litigation in the Circuit Court of the Eleventh Judicial

Circuit, in and for Miami-Dade County, styled M&M Chow LLC vs. YGSL Holdings LLC, and

Chaim Mendelsohn, Case No: 12-43989 CA 02 (the “M&M Action”).

        61.      On January 3, 2013, M&M obtained a final judgment against Kosher Central in

the amount of $1,673.968.07 (the “M&M Judgment”).

        62.      Upon information and belief, Gopin intentionally enabled M&M to obtain

possession of the assets of Kosher Central (the “M&M Transfer”).

        63.      Upon information and belief, the M&M Transfer was a strategic fraudulent

transfer whereby Walnut Creek Insider, Morechai Korf, acquired Gopin’s legal interest in

Kosher Central, for no consideration, in order to allow Gopin to shield his assets from the ever-

increasing demands of creditors.

        64.      Despite the fact that Gopin (through Kosher Central) is allegedly indebted to

M&M, the Walnut Creek Insiders have continued to operate the business as “Kosher Central”

and Gopin has continued his operation of the business, only now as a “manager” that is allegedly

paid on a 1099 basis.




2
 According to the Assignment of Lease, M& M provided initial funding of $150,000.00 and was to issue additional
promissory notes totaling “more than $1,000,000.”The Trustee has not received any documents or other information
confirming any loan proceeds from M&M.
                                                      10
              Case 14-01927-RBR         Doc 1     Filed 12/24/14   Page 11 of 98



                                           Homestead

       65.     Sometime after Gopin incurred debt to Harlem Suites, he and Rodman (his wife

and co-debtor) moved to the State of Florida, and on March 14, 2007, the Debtors purchased real

property located at 1895 NW 76th Way, Hollywood, Florida (the “Homestead”) for $435,000.00.

       66.     Additionally, on or around December 2010, shortly after the entry of the Harlem

Suites Judgment, the Debtors transferred the Homestead to Defendant Zalman Korf.

       67.     Zalman Korf allegedly paid $260,000.00 in consideration for the obtaining title to

Gopin’s Homestead.

       68.     The Debtors have failed to provide any documentation regarding the disbursement

of funds received for the “sale” of the Homestead.

       69.     Gopin testified at the 2004 Examination that the proceeds of the sale went to

satisfy the Bank of America (“BOA”) mortgages on the Homestead.

       70.     However, the Trustee’s review of the public records of Broward County, Florida,

reflects that the two mortgages held by BOA remain unsatisfied.

       71.     Since the “transfer” of the Homestead, the Debtors lease the property from the

Korfs and continued to reside at the premises.

       72.     Gopin testified at the 2004 exam that he leases the Homestead from Zalman Korf;

however, rather than paying Korf rent, Gopin is making mortgage payments directly to Zalman

Korf’s lender, in the amount of $2,170.54 a month. In essence, Gopin still retains possession of

the Homestead and pays a mortgage on such property all without having to have the property or

mortgage in his name.

       73.     Under the aforementioned facts, Gopin is receiving income from M&M, a

company owned by Mordechai Korf, and is using his compensation to pay off a mortgage on the



                                                 11
             Case 14-01927-RBR            Doc 1    Filed 12/24/14    Page 12 of 98



Homestead (taken out by Mordechai’s brother, Zalman), all while retaining control of both

Kosher Central and the Homestead and managing to evade claims of creditors.


                                     1019 Lincoln Property

       74.    On May 21, 2003, Gopin purchased the 1019 Lincoln Property for $351,063.00.

A copy of the deed evidencing the purchase is attached as Exhibit 7.

       75.    On December 19, 2012—a mere 7 days after Gregory obtained its judgment,

Gopin transferred the 1019 Lincoln Property to 1019 Lincoln LLC, a Florida limited liability

company, for $10,000.00 (the “1019 Transfer”). A copy of the quit claim deed evidencing the

1019 Transfer is attached as Exhibit 8.

       76.    According to the public records maintained by the Florida Secretary of State, the

registered agent and manager of 1019 Lincoln LLC is Zalman Korf, the same individual who

purchased the Homestead and is the Debtors’ current landlord.

       77.    The estimated value of the 1019 Property at the time of the 1019 Transfer was

$648,000, as reported on the Final Assessment Roll for 2013 prepared by the Department of

Finance for the State of New York.

       78.    The Trustee requested, but the Debtors did not provide, any proof that they

received the $10,000 in exchange for the 1019 Transfer.

       79.    Zalman Korf was the beneficiary of the 1019 Transfer which was made by the

Debtors for approximately $638,000.00 less than fair market value.

       80.    On April 29, 2013, 1019 Lincoln LLC transferred the 1019 Lincoln Property back

to Gopin for no consideration.

       81.    The same day, Gopin transferred the 1019 Property to Defendant 8100 Bais

Chaya, Inc. for an alleged purchase price of $430,000.00 (the “8100 Transfer”).


                                                  12
              Case 14-01927-RBR          Doc 1      Filed 12/24/14   Page 13 of 98



       82.     On or about January 17, 2014, 8100 Bais Defendant Chaya, Inc. sold the 1019

Lincoln Property to Alexander and Svetlana Perez, husband and wife, for $770,000.00.

                                            COUNT 1
                                        Declaratory Relief

       83.     The Trustee re-alleges and restates the allegations made in paragraphs 1 through

82 of the Complaint as if fully restated herein.

       84.     This is a claim for declaratory relief, pursuant to Bankruptcy Rule 7001, 11

U.S.C. § 541, 28 U.S.C. § 2201, Chapter 86, Florida Statutes, and other applicable law, to

determine the validity, priority or extent of the estate’s interest in the business operating as

Kosher Central and Carmel Bakery.

       85.     Defendant M&M may assert that it owns the business and related assets of Kosher

Central and Carmel Bakery.

       86.     Defendant CSSY of Florida, Inc. may assert that it owns the business and related

assets of Kosher Central and Carmel Bakery.

       87.     Defendant CYM Holdings, LLC may assert that it owns the business and related

assets of Kosher Central and Carmel Bakery.

       88.     Defendant Mordechai Korf may assert that he owns the business and related

assets of Kosher Central and Carmel Bakery.

       89.     Defendant Erica Korf may assert that she owns the business and related assets of

Kosher Central and Carmel Bakery.

       90.     Defendant Menacham Korf may assert that he owns the business and related

assets of Kosher Central and Carmel Bakery.

       91.     Defendant Shmuel Levy may assert that he owns the business and related assets

of Kosher Central and Carmel Bakery.


                                                   13
               Case 14-01927-RBR         Doc 1     Filed 12/24/14      Page 14 of 98



        92.     Defendant Chaim Mendelsohn may assert that he owns the business and related

assets of Kosher Central and Carmel Bakery.

        93.     The Trustee believes the estate owns some or all the ownership interests in

Kosher Central and Carmel Bakery.

        94.     There is an actual controversy over the rights of the parties regarding the

ownership interests in Kosher Central and Carmel Bakery.

        WHEREFORE, the Plaintiff respectfully requests the entry of judgment declaring that the

estate has an interest in some or all of Kosher Central and Carmel Bakery, determining the extent

of the estate’s interest, directing turnover of estate’s interest or the value thereof and awarding

any other relief the Court deems appropriate.

                               In the Alternative, COUNT 2
                      Avoidance of Transfer of Kosher Central to M&M
                            Pursuant to 11 U.S.C. § 548(a)(1)(A)
        95.     Plaintiff hereby re-alleges every allegation in paragraphs 1 through 82 as if fully

set forth herein.

        96.     If the Court determines that the estate does not have an interest in Kosher Central

as of the Petition Date, this count seeks the avoidance of the transfer of the Debtor’s interest in

Kosher to M&M (the “M&M Transfer”).

        97.     The Trustee may avoid any transfer of an interest of the Debtor in property, or any

obligation incurred by the Debtor, that was made or incurred on or within two (2) years before

the date of the filing of the petition, if the debtor voluntarily or involuntarily “made such transfer

or incurred such obligation with actual intent to hinder, delay, or defraud any entity to which the

debtor was or became, on or after the date that such transfer was made or such obligation was

incurred, indebted …” 11 U.S.C. § 548(a)(1)(A).




                                                 14
               Case 14-01927-RBR         Doc 1    Filed 12/24/14     Page 15 of 98



        98.     The M&M Transfer constitutes a transfer of an interest in property of the Debtor

made within two years before the Petition Date.

        99.     Gopin made the M&M Transfer with the actual intent to hinder, delay, or defraud

his creditors to whom Gopin was or became obligated, on or after the date of the M&M Transfer.

        100.    As a result of the M&M Transfer, the Plaintiff has been damaged for the total

value of the business transferred.

         WHEREFORE, the Plaintiff respectfully requests the entry of judgment against M&M:

(i) avoiding all or part of M&M Transfer; (ii) ordering and directing the payment of a monetary

award in the amount of the avoided M&M Transfer, plus such additional amounts and property

as may be discovered through these proceedings, together with accrued pre-judgment interest;

(iii) ordering the payment of all costs and expenses incurred in regard to this action; (iv)

disallowing any claim(s) M&M may have against the Debtor until such time M&M pays the

value of the M&M Transfer pursuant to 11 U.S.C. §502(d); and (v) awarding any other relief the

Court deems appropriate.

                                   In the alternative, COUNT 3
                                 Avoidance of Fraudulent Transfer
                                Pursuant to 11 U.S.C. § 548(a)(1)(B)

        101.    Plaintiff hereby re-alleges every allegation in paragraphs 1 through 82 as if fully

set forth herein.

        102.    Pursuant to 11 U.S.C. § 548(a)(1)(B), the Trustee may avoid any transfer of an

interest of the Debtor in property, or any obligation incurred by the Debtor, that was made or

incurred on or within two (2) years before the date of the filing of the petition, if the Debtor

voluntarily or involuntarily:

                (B)(i) received less than a reasonably equivalent value in exchange for
                such transfer or obligation; and


                                                 15
               Case 14-01927-RBR        Doc 1      Filed 12/24/14   Page 16 of 98



               (ii) (I) was insolvent on the date that such transfer was made or such
               obligation was incurred, or became insolvent as a result of such transfer or
               obligation; (II) was engaged in business or a transaction, or was about to
               engage in business or a transaction, for which any property remaining with
               the debtor was an unreasonably small capital; (III) intended to incur, or
               believed that the debtor would incur, debts that would be beyond the
               debtor’s ability to pay as such debts matured; or (IV) made such transfer
               to or for the benefit of an insider, or incurred such obligation for the
               benefit of an insider, under an employment contract and not in the
               ordinary course of business.

        103.   The M&M Transfer (defined in Count 2 above) constitute transfers of an interest

in property of the Debtor to Defendant M&M within two years prior to the Petition Date.

        104.   The Debtor received less than a reasonably equivalent value in exchange for the

M&M Transfer because among other things, the Debtor received nothing in return for having

made the M&M Transfer.

        105.   The Debtor was insolvent on the date that the M&M Transfer was made, or was

rendered insolvent because of the M&M Transfer, up to and through the Petition Date.

        106.   At the time of the M&M Transfer, the Debtor was engaged in business or a

transaction, or was about to engage in business or a transaction, for which any property

remaining with the debtor was an unreasonably small capital.

        107.   The Debtor intended to incur, or believed that he would incur, debts that would be

beyond his ability to pay as such debts matured.

        108.   As evidenced by the schedules and proofs of claim filed in this bankruptcy case,

multiple creditors existed prior to the Petition Date that would have been entitled to avoid the

transfers.

        109.   As a result of the M&M Transfer, the Plaintiff has been damaged for the total

value of the business transferred during the two year period.




                                                16
               Case 14-01927-RBR         Doc 1     Filed 12/24/14      Page 17 of 98



        WHEREFORE, the Plaintiff respectfully requests the entry of judgment against the

Defendant: (i) avoiding all or part of the M&M Transfer; (ii) ordering and directing the payment

of a monetary award in the amount of the avoided M&M Transfer, plus such additional amounts

and property as may be discovered through these proceedings, together with accrued pre-

judgment interest; (iii) ordering the payment of all costs and expenses incurred in regard to this

action; (iv) disallowing any claim(s) the Defendant may have against the Debtor until such time

the Defendant pays the M&M Transfer asserted herein pursuant to 11 U.S.C. § 502(d); and (v)

awarding any other relief the Court deems appropriate.

                                         COUNT 4
                      Avoidance of Fraudulent Transfer of 1019 Property
                            Pursuant to 11 U.S.C. § 548(a)(1)(A)
                                     (1019 Lincoln LLC)

        110.    Plaintiff hereby re-alleges every allegation in paragraphs 1 through 82 as if fully

set forth herein.

        111.    This count seeks the avoidance of the transfer of the Debtor’s interest in 1019

Property to 1019 Lincoln LLC (the “1019 Transfer”).

        112.    The Trustee may avoid any transfer of an interest of the Debtor in property, or any

obligation incurred by the Debtor, that was made or incurred on or within two (2) years before

the date of the filing of the petition, if the debtor voluntarily or involuntarily “made such transfer

or incurred such obligation with actual intent to hinder, delay, or defraud any entity to which the

debtor was or became, on or after the date that such transfer was made or such obligation was

incurred, indebted …” 11 U.S.C. § 548(a)(1)(A).

        113.    The 1019 Transfer constitutes a transfer of an interest in property of the Debtor

made within two years before the Petition Date.




                                                 17
               Case 14-01927-RBR         Doc 1    Filed 12/24/14     Page 18 of 98



        114.    Gopin made the 1019 Transfer with the actual intent to hinder, delay, or defraud

his creditors to whom Gopin was or became obligated, on or after the date of the 1019 Transfer.

        115.    As a result of the 1019 Transfer, the Plaintiff has been damaged for the total value

of the property transferred.

        WHEREFORE, the Plaintiff respectfully requests the entry of judgment against

Defendant 1019 Lincoln LLC (i) avoiding all or part of 1019 Transfer; (ii) ordering and directing

the payment of a monetary award in the amount of the avoided 1019 Transfer, plus such

additional amounts and property as may be discovered through these proceedings, together with

accrued pre-judgment interest; (iii) ordering the payment of all costs and expenses incurred in

regard to this action; (iv) disallowing any claim(s) 1019 Lincoln LLC may have against the

Debtor until such time 1019 Lincoln LLC or Zalman Korf pays the value of the 1019 Transfer

pursuant to 11 U.S.C. §502(d); and (v) awarding any other relief the Court deems appropriate.

                                         COUNT 5
                      Avoidance of Fraudulent Transfer of 1019 Property
                            Pursuant to 11 U.S.C. § 548(a)(1)(B)
                                     (1019 Lincoln LLC)

        116.    Plaintiff hereby re-alleges every allegation in paragraphs 1 through 82 as if fully

set forth herein.

        117.    Pursuant to 11 U.S.C. § 548(a)(1)(B), the Trustee may avoid any transfer of an

interest of the Debtor in property, or any obligation incurred by the Debtor, that was made or

incurred on or within two (2) years before the date of the filing of the petition, if the Debtor

voluntarily or involuntarily:

                (B)(i) received less than a reasonably equivalent value in exchange for
                such transfer or obligation; and

                (ii) (I) was insolvent on the date that such transfer was made or such
                obligation was incurred, or became insolvent as a result of such transfer or
                obligation; (II) was engaged in business or a transaction, or was about to

                                                 18
               Case 14-01927-RBR        Doc 1      Filed 12/24/14   Page 19 of 98



               engage in business or a transaction, for which any property remaining with
               the debtor was an unreasonably small capital; (III) intended to incur, or
               believed that the debtor would incur, debts that would be beyond the
               debtor’s ability to pay as such debts matured; or (IV) made such transfer
               to or for the benefit of an insider, or incurred such obligation for the
               benefit of an insider, under an employment contract and not in the
               ordinary course of business.

        118.   The 1019 Transfer (defined in Count 4 above) constitute transfers of an interest in

property of the Debtor to Defendant 1019 Lincoln LLC within two years prior to the Petition

Date.

        119.   The Debtor received less than a reasonably equivalent value in exchange for the

1019 Transfer because among other things, the Debtor received nothing in return for having

made the 1019 Transfer.

        120.   The Debtor was insolvent on the date that the 1019 Transfer was made, or was

rendered insolvent because of the 1019 Transfer, up to and through the Petition Date.

        121.   At the time of the 1019 Transfer, the Debtor was engaged in business or a

transaction, or was about to engage in business or a transaction, for which any property

remaining with the debtor was an unreasonably small capital.

        122.   The Debtor intended to incur, or believed that he would incur, debts that would be

beyond his ability to pay as such debts matured.

        123.   As evidenced by the schedules and proofs of claim filed in this bankruptcy case,

multiple creditors existed prior to the Petition Date that would have been entitled to avoid the

transfers.

        124.   As a result of the 1019 Transfer, the Plaintiff has been damaged for the total value

of the business transferred during the two year period.

        WHEREFORE, the Plaintiff respectfully requests the entry of judgment against

Defendant 1019 Lincoln LLC: (i) avoiding all or part of the 1019 Transfer; (ii) ordering and

                                                19
               Case 14-01927-RBR         Doc 1     Filed 12/24/14      Page 20 of 98



directing the payment of a monetary award in the amount of the avoided 1019 Transfer, plus

such additional amounts and property as may be discovered through these proceedings, together

with accrued pre-judgment interest; (iii) ordering the payment of all costs and expenses incurred

in regard to this action; (iv) disallowing any claim(s) 1019 Lincoln LLC may have against the

Debtor until such time 1019 Lincoln LLC pays the 1019 Transfer asserted herein pursuant to 11

U.S.C. § 502(d); and (v) awarding any other relief the Court deems appropriate.

                                          COUNT 6
                      Avoidance of Fraudulent Transfer of 1019 Property
                            Pursuant to 11 U.S.C. § 548(a)(1)(A)
                                    (8100 Bais Chaya Inc.)

        125.    Plaintiff hereby re-alleges every allegation in paragraphs 1 through 82 as if fully

set forth herein.

        126.    This count seeks the avoidance of the transfer of the Debtor’s interest in the 1019

Property to 8100 Bais Chaya, Inc. (previously defined as the “8100 Transfer”).

        127.    On or about April 29, 2013, Gopin transferred the 1019 Property to Defendant

8100 Bais Chaya, Inc. for an alleged purchase price of $430,000.00.

        128.    The Trustee may avoid any transfer of an interest of the Debtor in property, or any

obligation incurred by the Debtor, that was made or incurred on or within two (2) years before

the date of the filing of the petition, if the debtor voluntarily or involuntarily “made such transfer

or incurred such obligation with actual intent to hinder, delay, or defraud any entity to which the

debtor was or became, on or after the date that such transfer was made or such obligation was

incurred, indebted …” 11 U.S.C. § 548(a)(1)(A).

        129.    The 8100 Transfer constitutes a transfer of an interest in property of the Debtor

made within two years before the Petition Date.




                                                 20
               Case 14-01927-RBR         Doc 1    Filed 12/24/14     Page 21 of 98



        130.    Gopin made the 8100 Transfer with the actual intent to hinder, delay, or defraud

his creditors to whom Gopin was or became obligated, on or after the date of the 8100 Transfer.

        131.    As a result of the 8100 Transfer, the Plaintiff has been damaged for the total value

of the property transferred.

        WHEREFORE, the Plaintiff respectfully requests the entry of judgment against

Defendant 8100 Bais Chaya Inc.: (i) avoiding all or part of 8100 Transfer; (ii) ordering and

directing the payment of a monetary award in the amount of the avoided 8100 Transfer, plus

such additional amounts and property as may be discovered through these proceedings, together

with accrued pre-judgment interest; (iii) ordering the payment of all costs and expenses incurred

in regard to this action; (iv) disallowing any claim(s) 8100 Bais Chaya Inc. may have against the

Debtor until such time 8100 Bais Chaya Inc. pays the value of the 8100 Transfer pursuant to 11

U.S.C. § 502(d); and (v) awarding any other relief the Court deems appropriate.

                                          COUNT 7
                      Avoidance of Fraudulent Transfer of 1019 Property
                            Pursuant to 11 U.S.C. § 548(a)(1)(B)
                                    (8100 Bais Chaya Inc.)

        132.    Plaintiff hereby re-alleges every allegation in paragraphs 1 through 82 as if fully

set forth herein.

        133.    On or about April 29, 2013, Gopin transferred the 1019 Property to Defendant

8100 Bais Chaya, Inc. for an alleged purchase price of $430,000.00.

        134.    Pursuant to 11 U.S.C. § 548(a)(1)(B), the Trustee may avoid any transfer of an

interest of the Debtor in property, or any obligation incurred by the Debtor, that was made or

incurred on or within two (2) years before the date of the filing of the petition, if the Debtor

voluntarily or involuntarily:

                (B)(i) received less than a reasonably equivalent value in exchange for
                such transfer or obligation; and

                                                 21
               Case 14-01927-RBR          Doc 1    Filed 12/24/14     Page 22 of 98



                 (ii) (I) was insolvent on the date that such transfer was made or such
                 obligation was incurred, or became insolvent as a result of such transfer or
                 obligation; (II) was engaged in business or a transaction, or was about to
                 engage in business or a transaction, for which any property remaining with
                 the debtor was an unreasonably small capital; (III) intended to incur, or
                 believed that the debtor would incur, debts that would be beyond the
                 debtor’s ability to pay as such debts matured; or (IV) made such transfer
                 to or for the benefit of an insider, or incurred such obligation for the
                 benefit of an insider, under an employment contract and not in the
                 ordinary course of business.

        135.     The 8100 Transfer (defined hereinabove) constitutes a transfer of an interest in

property of the Debtor to Defendant 8100 Bais Chaya Inc. within two years prior to the Petition

Date.

        136.     The Debtor received less than a reasonably equivalent value in exchange for the

8100 Transfer because among other things, the Debtor received nothing in return for having

made the 8100 Transfer.

        137.     The Debtor was insolvent on the date that the 8100 Transfer was made, or was

rendered insolvent because of the 8100 Transfer, up to and through the Petition Date.

        138.     At the time of the 8100 Transfer, the Debtor was engaged in business or a

transaction, or was about to engage in business or a transaction, for which any property

remaining with the debtor was an unreasonably small capital.

        139.     The Debtor intended to incur, or believed that he would incur, debts that would be

beyond his ability to pay as such debts matured.

        140.     As evidenced by the schedules and proofs of claim filed in this bankruptcy case,

multiple creditors existed prior to the Petition Date that would have been entitled to avoid the

8100 Transfer.

        141.     As a result of the 8100 Transfer, the Plaintiff has been damaged for the total value

of the business transferred during the two year period.


                                                  22
               Case 14-01927-RBR         Doc 1    Filed 12/24/14   Page 23 of 98



        WHEREFORE, the Plaintiff respectfully requests the entry of judgment against

Defendant 8100 Bais Chaya Inc.: (i) avoiding all or part of 8100 Transfer; (ii) ordering and

directing the payment of a monetary award in the amount of the avoided 8100 Transfer, plus

such additional amounts and property as may be discovered through these proceedings, together

with accrued pre-judgment interest; (iii) ordering the payment of all costs and expenses incurred

in regard to this action; (iv) disallowing any claim(s) 8100 Bais Chaya Inc. may have against the

Debtor until such time 8100 Bais Chaya Inc. pays the value of the 8100 Transfer pursuant to 11

U.S.C. § 502(d); and (v) awarding any other relief the Court deems appropriate.

                                In The Alternative, COUNT 8
                             Recovery of Avoided M&M Transfer
                                Pursuant to 11 U.S.C. § 550(a)

        142. Plaintiff hereby re-alleges every allegation in paragraphs 1 through 82 as if fully

set forth herein.

        143. If the Trustee prevails on Count 2 or 3 to avoid the M&M Transfer, the Trustee

may recover the M&M Transfer or the value thereof, from – (1) the initial transferee of such

transfer or the entity for whose benefit such transfer was made; or (2) any immediate or mediate

transferee of such initial transferee. 11 U.S.C. § 550.

        144. M&M was the initial transferee of the M&M Transfer and the entity for whose

benefit such transfer was made.

         WHEREFORE, the Plaintiff respectfully requests the entry of judgment against M&M:

(i) ordering and directing the payment of a monetary award in the amount of the avoided M&M

Transfer, plus such additional amounts and property as may be discovered through these

proceedings, together with accrued pre-judgment interest; (ii) disallowing any claim(s) M&M

may have against the Debtor until such time that M&M pays the M&M Transfer asserted herein



                                                 23
               Case 14-01927-RBR         Doc 1    Filed 12/24/14     Page 24 of 98



pursuant to §502(d) of the Bankruptcy Code; and (iii) awarding any other relief the Court deems

appropriate.

                                           COUNT 9
                               Recovery of Avoided 1019 Transfer
                                 Pursuant to 11 U.S.C. § 550(a)
                                      (1019 Lincoln LLC)

        145. Plaintiff hereby re-alleges every allegation in paragraphs 1 through 82 as if fully

set forth herein.

        146. If the Trustee prevails on Count 4 or 5 to avoid the 1019 Transfer, the Trustee may

recover the 1019 Transfer or the value thereof, from: (1) the initial transferee of such transfer or

the entity for whose benefit such transfer was made; or (2) any immediate or mediate transferee

of such initial transferee. 11 U.S.C. § 550.

        147. 1019 Lincoln LLC was the initial transferee of the 1019 Transfer.

        148. Zalman Korf was the entity for whose benefit such transfer was made.

        WHEREFORE, the Plaintiff respectfully requests the entry of judgment against 1019

Lincoln LLC and Zalman Korf: (i) ordering and directing the payment of a monetary award in

the amount of the avoided 1019 Transfer, plus such additional amounts and property as may be

discovered through these proceedings, together with accrued pre-judgment interest; (ii)

disallowing any claim(s) 1019 Lincoln LLC and Zalman Korf may have against the Debtor until

such time that 1019 Lincoln LLC and/or Zalman Korf pays the value of the 1019 Transfer

asserted herein pursuant to §502(d) of the Bankruptcy Code; and (iii) awarding any other relief

the Court deems appropriate.




                                                 24
               Case 14-01927-RBR         Doc 1    Filed 12/24/14     Page 25 of 98



                                         COUNT 10
                              Recovery of Avoided 8100 Transfer
                                Pursuant to 11 U.S.C. § 550(a)
                                   (8100 Bais Chaya Inc.)

        149. Plaintiff hereby re-alleges every allegation in paragraphs 1 through 82 as if fully

set forth herein.

        150. If the Trustee prevails on Count 6 or 7 to avoid the 8100 Transfer, the Trustee may

recover the 8100 Transfer or the value thereof, from: (1) the initial transferee of such transfer or

the entity for whose benefit such transfer was made; or (2) any immediate or mediate transferee

of such initial transferee. 11 U.S.C. § 550.

        151. 8100 Bais Chaya Inc. was the initial transferee of the 8100 Transfer and the entity

for whose benefit the 8100 Transfer was made.

        WHEREFORE, the Plaintiff respectfully requests the entry of judgment against 8100

Bais Chaya Inc.: (i) ordering and directing the payment of a monetary award in the amount of the

avoided 8100 Transfer, plus such additional amounts and property as may be discovered through

these proceedings, together with accrued pre-judgment interest; (ii) disallowing any claim(s)

8100 Bais Chaya may have against the Debtors until such time that 8100 Bais Chaya Inc. pays

the value of the 8100 Transfer asserted herein pursuant to §502(d) of the Bankruptcy Code; and

(iii) awarding any other relief the Court deems appropriate.

                                          COUNT 11
                                  Unjust Enrichment (M&M)

        152. Plaintiff hereby re-alleges every allegation in paragraphs 1 through 82 as if fully

set forth herein.

        153.    This is a claim for unjust enrichment under Florida law.

        154.    The Debtor conferred a benefit on Defendant M&M by making the M&M

Transfer without any resulting value or benefit being received by the Debtor.

                                                 25
               Case 14-01927-RBR         Doc 1    Filed 12/24/14     Page 26 of 98



        155.    Defendant M&M knowingly and voluntarily accepted and retained the benefit

conferred by the Debtor.

        156.    The circumstances are such that it would be inequitable and unjust for Defendant

M&M to retain the benefit conferred by the Debtor without paying the Plaintiff the value thereof.

        157.    Defendant M&M has been unjustly enriched to the detriment of the Debtor’s

creditors and the Debtor’s bankruptcy estate.

        158.    The Plaintiff is entitled to the return of those amounts to which Defendant M&M

was unjustly enriched through the imposition of an equitable lien on the assets of Kosher Central,

disgorgement or any other appropriate remedy.

        WHEREFORE, the Plaintiff respectfully requests the entry of judgment against

Defendant M&M: (i) finding that Defendant M&M was unjustly enriched as a result of the

M&M Transfer; (ii) ordering and directing the payment of a monetary award in the amount of

the M&M Transfer, together with accrued pre-judgment interest; (iii) ordering the payment of all

costs and expenses incurred in regard to this action; (iv) disallowing any claim(s) Defendant

M&M may have against the Debtor until such time M&M pays the M&M Transfer pursuant to

11 U.S.C. § 502(d); (v) imposing an equitable lien on the assets of Kosher Central; and (vi)

awarding any other relief the Court deems appropriate.

                                          COUNT 12
                    Unjust Enrichment (1019 Lincoln LLC and Zalman Korf))

        159.    Plaintiff hereby re-alleges every allegation in paragraphs 1 through 82 as if fully

set forth herein.

        160.    This is a claim for unjust enrichment under Florida law.




                                                 26
               Case 14-01927-RBR        Doc 1    Filed 12/24/14     Page 27 of 98



        161.    The Debtor conferred a benefit on Defendants 1019 Lincoln LLC and Zalman

Korf by making the 1019 Transfer without any resulting value or benefit being received by the

Debtor.

        162.    Defendants 1019 Lincoln LLC and Zalman Korf knowingly and voluntarily

accepted and retained the benefit conferred by the Debtor.

        163.    The circumstances are such that it would be inequitable and unjust for Defendants

1019 Lincoln LLC and Zalman Korf to retain the benefit conferred by the Debtor without paying

the Plaintiff the value thereof.

        164.    Defendants 1019 Lincoln LLC and Zalman Korf have been unjustly enriched to

the detriment of the Debtor’s creditors and the Debtor’s bankruptcy estate.

        165.    The Plaintiff is entitled to the return of those amounts to which Defendants 1019

Lincoln LLC and Zalman Korf were unjustly enriched.

        WHEREFORE, the Plaintiff respectfully requests the entry of judgment against

Defendants 1019 Lincoln LLC and Zalman Korf: (i) finding that Defendants 1019 Lincoln LLC

and Zalman Korf were unjustly enriched as a result of the 1019 Transfer; (ii) ordering and

directing the payment of a monetary award in the amount of the 1019 Transfer, together with

accrued pre-judgment interest; (iii) ordering the payment of all costs and expenses incurred in

regard to this action; (iv) disallowing any claim(s) Defendants 1019 Lincoln LLC and Zalman

Korf may have against the Debtor until such time 1019 Lincoln LLC and Zalman Korf pay the

1019 Transfer pursuant to 11 U.S.C. § 502(d); and (v) awarding any other relief the Court deems

appropriate.




                                                27
               Case 14-01927-RBR         Doc 1    Filed 12/24/14     Page 28 of 98



                                         COUNT 13
                           Unjust Enrichment (8100 Bais Chaya Inc.)

        166.    Plaintiff hereby re-alleges every allegation in paragraphs 1 through 82 as if fully

set forth herein.

        167.    This is a claim for unjust enrichment under Florida law.

        168.    The Debtor conferred a benefit on Defendant 8100 Bais Chaya Inc. by making the

8100 Transfer without any resulting value or benefit being received by the Debtor.

        169.    Defendant 8100 Bais Chaya Inc. knowingly and voluntarily accepted and retained

the benefit conferred by the Debtor.

        170.    The circumstances are such that it would be inequitable and unjust for Defendant

8100 Bais Chaya Inc. to retain the benefit conferred by the Debtor without paying the Plaintiff

the value thereof.

        171.    Defendant 8100 Bais Chaya Inc. has been unjustly enriched to the detriment of

the Debtor’s creditors and the Debtor’s bankruptcy estate.

        172.    The Plaintiff is entitled to the return of those amounts to which Defendant 8100

Bais Chaya Inc. was unjustly enriched.

        WHEREFORE, the Plaintiff respectfully requests the entry of judgment against

Defendant 8100 Bais Chaya Inc.: (i) finding that Defendant 8100 Bais Chaya Inc.was unjustly

enriched as a result of the 8100 Transfer; (ii) ordering and directing the payment of a monetary

award in the amount of the 8100 Transfer, together with accrued pre-judgment interest; (iii)

ordering the payment of all costs and expenses incurred in regard to this action; (iv) disallowing

any claim(s) Defendant 8100 Bais Chaya Inc. may have against the Debtor until such time 8100




                                                 28
               Case 14-01927-RBR        Doc 1    Filed 12/24/14   Page 29 of 98



Bais Chaya Inc. pays the 8100 Transfer pursuant to 11 U.S.C. § 502(d); and (v) awarding any

other relief the Court deems appropriate.



 DATED: December 24, 2014                   MARKOWITZ RINGEL T RUSTY & HARTOG, P.A.
                                            Counsel to the Plaintiff
                                            101 NE Third Avenue, Suite 1210
                                            Fort Lauderdale, FL 33301
                                            Tel: (954) 767-0030 //Fax: (954) 767-0035

                                            - and –

                                            9130 S. Dadeland Blvd.
                                            Two Datran Center, Suite 1800
                                            Miami, Florida 33156
                                            Tel: (305) 670-5000 // Fax: (305) 670-5011

                                            By: /s/ Grace E. Robson
                                                Grace E. Robson, Esq.
                                                Fla. Bar No. 178063
                                                grobson@mrthlaw.com
                                                Adrian C. Delancy
                                                Florida Bar No. 75337
    492752.2                                    adelancy@mrthlaw.com




                                                29
Case 14-01927-RBR   Doc 1   Filed 12/24/14     Page 30 of 98



                            Exhibit 1
                    (Construction Agreement)
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 31 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 32 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 33 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 34 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 35 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 36 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 37 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 38 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 39 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 40 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 41 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 42 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 43 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 44 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 45 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 46 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 47 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 48 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 49 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 50 of 98




                         Exhibit 2
               (Harlem Suites Final Judgment)
Case
Case 14-01927-RBR
     14-01431-RBR   Doc
                    Doc 1
                        1   Filed
                            Filed 12/24/14
                                  05/07/14   Page
                                             Page 51
                                                  17 of
                                                     of 98
                                                        46
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 52 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 53 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 54 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 55 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 56 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 57 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 58 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 59 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 60 of 98



                           Exhibit 3
             (Settlement Agreement with Gregory)
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 61 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 62 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 63 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 64 of 98
Case 14-01927-RBR     Doc 1   Filed 12/24/14   Page 65 of 98



                             Exhibit 4
 (Excerpt Of The First Two Pages Of Kosher Center’s Catering Menu)
catering menu V3 16 pages_Layout 1 12/4/2012 3:24 PM Page 1
                                 Case 14-01927-RBR            Doc 1   Filed 12/24/14   Page 66 of 98




                                                         MENU




       5650 Stirling Rd. Hollywood, FL 33021 • 954-963-1313
                      koshercentral@gmail.com
catering menu V3 16 pages_Layout 1 12/4/2012 3:24 PM Page 2
                                 Case 14-01927-RBR             Doc 1      Filed 12/24/14       Page 67 of 98




             Hi! My name is Yossi Gopin, and I am the founder of Kosher
             Central, the “One Stop Kosher Shop.”

             It is my desire to make YOUR shopping experience a pleasant,
             convenient, and successful one, so that you’ll keep coming
             back for more.

             What does all that mean to YOU, the customer?

             It means that you will find ALL of your kosher needs at our in-house bakery,
             butchery, deli and grocery. Kosher Central has whatever you need, at the highest
             kosher culinary standards and quality.

             We also offer the best “bang for your buck” catering in South Florida. We are
             first in customer service, quality, taste and professionalism. We help to ensure
             your event runs smoothly and is a wonderful experience for you and your guests
             to enjoy. We will meet, and surpass all of your expectations.

             I am personally involved in all aspects of the Kosher Central experience and your
             input is valuable to me. So the next time you stop by, please say hello, and tell
             me how you feel we can do a better job serving you. Please also keep my phone
             number handy, and if I can ever be of service to you, do not hesitate to call. I will
             be happy to assist you.

             I have always believed that Kosher does not mean we have to do without, so at
             Kosher Central, we strive for quality and variety. We are, and will continue to be,
             your “Leading Kosher Standard” in South Florida.

             Yossi Gopin, CEO
             954-963-1313
             ygopin@gmail.com




   2                                             We are “The Leader” in Kosher catering standards!
Case 14-01927-RBR     Doc 1   Filed 12/24/14   Page 68 of 98



                             Exhibit 5
 (Request for Temporary Injunction and/or Appointment of Receiver)
              Case 14-01927-RBR        Doc 1    Filed 12/24/14      Page 69 of 98




                                                           CIRCUIT COURT OF
                                                     JUDICIAL CIRCUIT IN AND
                                                     BROWARD COUNTY, FLORI
SHMUEL LEVY

        Plaintiff,                                   CfVIL DIVISION

v.                                                   CA.SENO.:

JOSEPH GOPIN

        Defendant.

                                                                              0."1
                                                                              ;:.: ::->
                                                                              (':);-

       RE UEST FOR TEMPORARY INJUNCTION AND/OR APPO
                              RECEI\lER
                                                                                            1'0
        COMES NOW, the Plaintiff, SHMUEL LEVY, by and through his ~Q:dersi~d an9mey
                                                                              '"   >   --    f __•   '   1




and requests this honorable Court to issue a Temporary Injunction and/or

against Defendant's corporation and in support thereof alleges as follo\vs:

                                LEGALLY RELVANT FACTS

     1. Plaintiff and Defendant were fifty percent         owners of the shares of a Florida

corporation, YGSL Holdings, LLC, (hereinafter "the business") located in Broward County,

Florida.

     2. On August 13,2010, Plaintiff and Defendant entered into an Agreement that enabled

Defendant to purchase Plaintiff's shares   the company for One Hundred Ten Thousand Dollars

($110,000.00) in addition to an assumption of debt in the amount of Fifty Thousand Dollars

($50,000). A copy of said contract is attached hereto as

     3. Payments were to be made by checks directly from the operating account of the business

in the amount of one thousand dollars ($1,000.00)

     4. OnMay

any additional payments pursuant to the contract
             Case 14-01927-RBR          Doc 1     Filed 12/24/14     Page 70 of 98




            contract provides Plaintiff with a security                 business equal to the balance

o\ved by the Defendant in the event of a default.

   6. The Defendant has fraudulently transferred over Two                  Fifty Thousand Dollars

($250,000.00) out of the business's operating account, in          to swindle the Defendant../\_ copy

of the business account statements is attached hereto as Exhibit B.


                                           INJUNCTION

   7. Plaintiff re-alleges and reaffirms paragraphs        of this pleading.

   8. The Plaintiff would be ilmnediately and irreparably drunaged if Defendant is allowed to

continue withdrawing money from the business's account.

   9. If the Defendant were to learn of this law suit before an injunction were in place, he will

transfer the funds out of the business's operating account in order to make the business insolvent.

    10. Defendant will continue to withdraw funds from the business account at an alarming rate

until the funds in the account are depleted and no longer retrievable by either party unless an

injunction is in place.

    11. If Defendant depletes all assets of the business, Plaintiff's security interest in the business

equal to the balance owed by the Defendant in the event of default would be meaningless.

   12. Plaintiff, pursuant to Florida Rule of Civil Procedure 1      0, in the interest of preventing

immediate and irreparable harm to the Plaintiff, prays       an injm1ction against Defendant.


                                APPOINTMENT OF RECEIVER

   13. Plaintiff re-alleges and reaffim1s paragraphs 1-6 and 8-11              pleading.

   14. Plaintiff and Defendant, in the interest of          would have the assets in the business

protected by appointing a receiver pursuant to Florida            Civil Procedure 1.620.
            Case 14-01927-RBR         Doc 1    Filed 12/24/14     Page 71 of 98




to enjoin the Defendant from accessing the business's accounts

appointment of receiver to prevent immediate and irreparable drunage to Plaintiff.


                                                            Respectfully   Submitted~



                                                            DAVID LOW, ESQ.


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been sent to the

Broward County Clerk of Court, 201 SE 6th Street, Ft. Lauderdale, Florida 33301.




                                                            DAVID LOW, ESQ.
                                                            28 West Flagler Street, 1Oth Floor
                                                            Miami, Florida 33130
                                                            Phone: (305) 728-1931
                                                            Fax: (305) 675-2685
                                                            FBN: 67957
                  Case 14-01927-RBR            Doc 1   Filed 12/24/14    Page 72 of 98




08/13/2010



          1. This represents a binding agreement between Joseph Gopin           Shmuel Levy. Shmuel
               Levy (seller) agrees to transfer his 50% ownership in YGSL Holdings, LLC to Joseph Go pin
               { Buyer).




          Purchase Price: 110,000 plus paragraph 3




          2.   Payment schedule:

          10,000 to be paid on 8/18/2010

          100,000 to be paid in weekly payments of 1,000 beginning 08/25/2010 with automatic
checks directly out of operating account.




          3. Buyer agrees to assume all liabilities of the business, including the balance owed to
               Jerome Cohen and Wendy Rothenberg.
         4. Additionally/ buyer agrees to further discuss an expedited payment schedule if a new
               partner comes in to business.




         5. Buyer agrees that in event of default on payment business is security equal to the
               balance owed.




          6.         agrees to further discuss any additional terms and conditions based on default.



 ···..._ ..

Joseph Gopin                                               Shmuel levy

Buyer                                                      Seller
              Case 14-01927-RBR                            Doc 1               Filed 12/24/14                     Page 73 of 98
                                                                                                                                                  Page




                                                                                          :1'·I Tr:it: CIRCUI-.' COURT OF THE iJTE
                                                                                          fJ:JlClAL CIRCUiT IN ANI) fOR

            S~lv1UEL   LE\l'{




            JOSE:Pri GO?JN

                  D efen.cant




                                                                                            CRUSt.



                                                                                                  O':t/1ier~   of th':3 sh.ares of a Flonch
                       cs~::,-;:cratwn. '{GS.L ··-'-"'~'""'·'-<"-·'·
                       Cou:~~v. ?~ar1da


                                                                                                               and

                   4. Thatcn                                                                   rc:fuscd to mak.:: any     ad~Et:onal paymen~s
                       :..:ildt2:r tL~1.:: ::untrc . :t ""l;-c n1ad~
                                               V\::Ietwa:.nr, pursuant to the ,;ontract, payments ir: the amount of

                                                t::.e         contra·~t
                  S. That pno:- to D.:fendanr:;                 _,_.,.~.._.lCIC.i.UU   of the .:-or:.tra·:::t. he informed m;; th:c<.t he haci
                     soh·::tzr::d in-:.-'estors                                                                in Ddendant                av::r




                   7, That Def.::n.dant c:a:n.:ealed frcrn. the Hwes:tors the fact that I had ru1mterest m




https://docs.google.con1/a/northf1ddenterprise.cmnlviev..ter?attid=O.l &.pid=gn1ail&thid= 130...                                                   7/5/2011
              Case 14-01927-RBR                   Doc 1          Filed 12/24/14                  Page 74 of 98
                                                                                                                                                Page 1 of 1




                     ~nmdred and       thousa.nd cbHars (S _         u1vested by the investors w a::.1.
                     to n:.ake the busmess m:wi·vr:nt and cefraud n:c o£ my intcr.est m th.; bus-mr::~;s.




                                                           money from one busnicss to 2.nothtr m                      2.11 ~ffort




                                                                                                                                          the
                      liagat1~12 ~~pt113CS \;lill111~:r:=ast
                                                           atld I ~..:-:1111 SlJffer 11Till1td1at.t   ·n··"'"'~, .. .,"'"" 1tljt!ry, lc~:;s:
                      c:r                      be unable t#J su.st2m a lawsmt

                                                      YETH HAUGHT.




                            :-3Hrvi UEL LEI/'{,

                      S\VORN TO i\SD S0BSCR.IBED




                                                                                                                   JOSEPH Y. BAUSOK
                                                                                                  NOTARY PUBliC-STATE OF NEW YORK
                                                                                                         No. 02BA6225 i 66
                                                                                                      Qualified In Kln~JS County
                                                                                                  My Commission Explre:s July t 9 20 i .4




https://docs.google.con1/alnortht1eldenterprise.coin!vie\ver?attid=O.l &pid=gmail&thid= 130...                                                   7/5/2011
Case 14-01927-RBR   Doc 1   Filed 12/24/14     Page 75 of 98



                        Exhibit 6
            (Collateral Assignment of Lease)
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 76 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 77 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 78 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 79 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 80 of 98
    Case 14-01927-RBR     Doc 1   Filed 12/24/14   Page 81 of 98



                             Exhibit 7
(May 21, 2003 Deed Showing Gopin’s Purchase of 1019 Lincoln Property)
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 82 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 83 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 84 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 85 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 86 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 87 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 88 of 98
   Case 14-01927-RBR      Doc 1   Filed 12/24/14   Page 89 of 98



                              Exhibit 8
(December 19, 2012 Quit Claim Deed From Gopin to 1019 Lincoln LLC))
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 90 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 91 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 92 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 93 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 94 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 95 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 96 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 97 of 98
Case 14-01927-RBR   Doc 1   Filed 12/24/14   Page 98 of 98
